        Case 5:20-cv-03639-EJD           Document 403         Filed 02/26/25      Page 1 of 3



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February 13,2024                                                                FEB 2 6 2025
                                                                           CLERK, U.S. DISTRICT COURT
United States District Court                                            NORTHERN DISTRICT OF CALIFORNIA
280 South 1st Street, Room 2112
San Jose, CA 95113

       In re: Telescopes Antitrust 5:20-cv-03639 EJD

To the Clerk:


I am writing as to the horrendous procedure that people have to go through to file objections
and/or a claim in this case. I believe this procedure will result in an extremely low number of
objections and claimants.

As to objections, I am not sure of the proper procedure. The website
www.telescopesettlement.com simply says: If you want to opt out or object, you must do so
by February 13,2025. However, it gives no information where to send the objection, whether it
goes to the claims administrator, class counsel, or the clerk. If the Clerk, is it a form, a letter, a
motion? I assume the Clerk, so I had to go to the Court's website to get that address. The FAQ
page says: "If you are a member of the settlement class and do not opt out, you can object
to the settlement if you do not like it. The deadline to object is February 13,2025." Again,
no information on how to do an objection. I am sure not many consumers will waste their time
trying to navigate the cryptic maze of how to object. The very minimum, the website should
explain exactly what a person needs to do to let the Court know if they don't like this settlement.
At the very least, they should provide the address to send objections to.

My problem that led to the objection is about the method used to file claims, which is confusing
and meant for little work to be done by the administrators of the class action. If you received a
claim number,-you can file a claim online. But I understand that only a select few have received
thes^^im numbers.

Despite my purchasing a Celestron PowerSeeker 80AZS Telescope about 7 years ago via Target,
I did not receive any claim number.

Therefore the website makes me do a paper claim form. To get the paper claim to fill out, the
website requires I enter my name and address. The form then comes out in a PDF that I must
print. The printable PDF, despite giving the address and name, requires filling in that same
information again (name and address). For what? To make it hard. The name and address is
already printed on it. Then I must make an envelope and mail that form in.

Then the form asks what kind of payment I would like. I can choose paper check or I can check
a box that says, "If you wish to receive any payment pursuant to the Settlement Agreement
electronically, please submit your claim online at www.telescopesettlement.com."
            Case 5:20-cv-03639-EJD   Document 403   Filed 02/26/25   Page 2 of 3



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       Case 5:20-cv-03639-EJD          Document 403        Filed 02/26/25     Page 3 of 3



I am perplexed as to how the second option can be accomplished considering that they did not
provide me with a claim number and only gave a small group those numbers.
The question that must be asked is, "Is anyone really going to do this?" I am sure that despite I
think 4,000,000 potential claimants, only a teeny tiny fraction is going to do all this circling
around. After all, most people do not use postal mail.

If the settlement administrator is trying to avoid fraudulent claims, this is the easy way out. A
better way would be to examine claims when multiple claimants share the same address (more
claims than would be logical), limit electronic payments to one per Pajqjal address, one per Zelle
address, one per Venmo, etc. (It doesn't make sense for a scammer to try to submit two claims to
a single address, it'd be more easy to just submit a claim with multiple telescopes which could be
looked at as well).

For that reason, I do not think the settlement should be approved unless Class Counsel takes the
necessary steps to correct this absurd objections and claims process to make sure people who
want to object can figure it out and those who wanf to file a claim can easily ^ek payment
without the burden of sending in a form.

I would prefer an electronic payment. However, it refers me back to the website that stops me
from filing a claim, so it is not possible. Everyone should receive the same options, such as an
easy online form and a choice of payment methods.

Please make Class Counsel do their job and advocate for the class members. I know this CPM
law firm thinks their advocacy ends upon receiving a settlement and at that time they just ignore
problems claimants have or actually attack their claimants. I read a lot of bad things about how
they mistreat people who complain. This shouldn't be. They need to focus their energy on
fixing things, working with the claimants who have better ideas than they do, having better
claims management software, etc.

Thank you for your time and help in making class actions great again.

Very truly yours.




Mike Sussman
